                Case 3:17-cv-01081-RS Document 4 Filed 03/17/17 Page 1 of 2




 1 David E. Bower, SBN 119546
   MONTEVERDE & ASSOCIATES PC
 2 600 Corporate Pointe, Suite 1170
   Culver City, CA 90230
 3
   Tel: (213) 446-6652
 4 Fax: (212) 601-2610
   dbower@monteverdelaw.com
 5 Counsel for Plaintiff

 6
                                UNITED STATES DISTRICT COURT
 7
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
   ROBERT KROMPHOLD, Individually and                Civil Action No. 3:17-cv-1081
 9 on Behalf of All Others Similarly Situated,
                            Plaintiff,
10               v.

11 CASTLIGHT HEALTH, INC., GIOVANNI                  NOTICE OF DISMISSAL
   M. COLELLA, BRYAN ROBERTS, ANN
12 LAMONT, ED PARK, DAVID B. SINGER,
   MICHAEL EBERHARD, DAVID
13 EBERSMAN, and KENNY VAN ZANT,

14                            Defendants.

15
            Notice is hereby given that pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil
16

17 Procedure, Plaintiff voluntarily dismisses with prejudice as to Plaintiff only and without prejudice

18 as to the putative class in the above-titled action against Defendants as moot. This notice of

19 dismissal is being filed with the Court before service by Defendants of either an answer or a motion
20 for summary judgment.

21
     DATED: March 9, 2017                                 Respectfully submitted,
22
                                                          /s/ David E. Bower
23                                                        David E. Bower SBN 119546
                                                          MONTEVERDE & ASSOCIATES PC
24                                                        600 Corporate Pointe, Suite 1170
                                                          Culver City, CA 90230
25                                                        Tel: (310) 446-6652
                                                          Fax: (212) 601-2610
26                                                        Email: dbower@monteverdelaw.com

27                                                        Counsel for Plaintiff

28
                                       NOTICE OF DISMISSAL
               Case 3:17-cv-01081-RS Document 4 Filed 03/17/17 Page 2 of 2




 1   OF COUNSEL

 2   MONTEVERDE & ASSOCIATES PC
 3   Juan E. Monteverde
     The Empire State Building
 4   350 Fifth Avenue, 59th Floor
     New York, NY 10118
 5   Tel: (212) 971-1341
     E-mail: jmonteverde@monteverdelaw.com
 6
     Counsel for Plaintiff
 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28
                                             2
                                   NOTICE OF DISMISSAL
